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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
 v.                                                 §          No. 4:21-cr-00300-SDJ-KPJ
                                                    §
 CALVIN AUTAE THOMPSON (11)                         §
 a.k.a. “C-Mo”                                      §


         DEFENDANT CALVIN AUTAE THOMPSON’S REQUEST FOR STATUS
                             CONFERENCE

 TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Defendant, Calvin Autae Thompson (“Defendant”), by and through his

 undersigned counsel and submits this Request for a Status Conference in the above-referenced

 matter. In support, Defendant states as follows:

                                 I.       PROCEDURAL BACKGROUND

        The matter is currently set for trial on February 3, 2025, but there is a pending motion to

 continue the trial date. The procedural history of this case is complex and reflects significant

 challenges stemming from Mr. Thompson's conduct and filings. Mr. Thompson was arrested on

 July 27, 2023, and on August 2, 2023, a detention hearing was held before Magistrate Judge

 Kimberly C. Priest Johnson, who ordered him detained pending trial.

        Shortly after his detention, Mr. Thompson began filing multiple pro se motions, requesting

 the appointment of new counsel. Between August 16, 2023, and September 29, 2023, Mr.

 Thompson filed four separate motions to appoint new counsel, despite having representation

 during this period. On October 9, 2023, the Court granted Mr. Thompson’s fourth request and

 appointed undersigned counsel, Derek Staub.




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        Since Staub’s appointment, Mr. Thompson has continued to act in a manner that

 complicates representation. He filed a pro se motion to dismiss due to a lack of evidence on

 December 27, 2023, which the Court struck from the record on January 3, 2024, noting that he

 could not file motions while represented by counsel. Nevertheless, his filing required attention and

 caused further delays. On January 24, 2024, undersigned counsel filed a motion to dismiss the

 indictment or, in the alternative, for a bill of particulars on Mr. Thompson's behalf. This motion

 was ultimately denied following a Report and Recommendation issued on June 13, 2024, and

 adopted by the Court on August 25, 2024.

        Most recently, on January 16, 2025, Mr. Thompson filed yet another pro se motion,

 requesting a Franks Hearing. Despite counsel’s repeated efforts to explain the legal process and

 the importance of working collaboratively, Mr. Thompson has continued to act independently,

 often disregarding advice and undermining his own case. Undersigned counsel met with Mr.

 Thompson on January 17, 2025, to discuss his most recent filing and options, he insisted that he

 wished to address the Court directly and speak with the prosecuting attorney. This persistent

 behavior not only complicates representation but also creates confusion and inefficiencies in the

 administration of this case.

                                    II.     REASON FOR REQUEST

        A status conference is necessary to address several critical and recurring issues that are

 hindering progress in this matter. First, the pending motion to continue the trial date requires the

 Court’s attention and resolution, as it impacts the preparation and scheduling for both parties.

 Second, Mr. Thompson’s pro se motion for a hearing and his insistence on addressing the Court

 directly need to be resolved to ensure that his rights are protected while also maintaining proper

 legal procedures.




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        More broadly, Mr. Thompson’s ongoing actions, including his pattern of filing pro se

 motions while represented, have created significant challenges for undersigned counsel. These

 actions have caused delays, diverted resources, and complicated the attorney-client relationship.

 Mr. Thompson’s refusal to adhere to counsel’s guidance has made it exceedingly difficult to

 provide effective representation and ensure that this case proceeds efficiently and fairly. A status

 conference would provide an opportunity to address these ongoing issues and establish a clear path

 forward, both procedurally and substantively.

                                           III.    CONCLUSION

        Counsel is available at the Court's earliest convenience and respectfully requests that the

 Court schedule a status conference at its first availability. This conference is critical to ensure the

 orderly and fair progression of this case and to address the matters outlined above.

        WHEREFORE, Defendant Calvin Autae Thompson, respectfully requests that the Court

 schedule a status conference to address the matters outlined above and for any other relief the

 Court deems just and proper.

                                                    Respectfully submitted,

                                                    FROST BROWN TODD LLP

                                                    By: /s/ Derek R. Staub
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                                                    CALVIN AUTAE THOMPSON




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                                    CERTIFICATE OF CONFERENCE

          I hereby certify that undersigned counsel conferred with Assistant United States Attorney

 Heather Rattan on Monday, January 17, 2025, regarding this motion. AUSA Rattan indicated that

 she is unopposed to the relief requested herein.


                                                    /s/ Derek R. Staub
                                                    Derek R. Staub

                                      CERTIFICATE OF SERVICE

          On January 21, 2025, I electronically filed the foregoing document with the Clerk of the

 Court for the U.S. District Court, for the Eastern District of Texas. I hereby certify that I have

 served the documents on all counsel and/or pro se parties of record in a manner authorized by Fed.

 R. Crim. P. 49.

                                                    /s/ Derek R. Staub
                                                    Derek R. Staub

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